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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;166&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Victor Dean Adkins&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;331ST&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;0961765&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;BOB PERKINS&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

&lt;P&gt;On July 3, 1997, Victor Dean Adkins was convicted of aggravated sexual assault of
a child after pleading guilty.  Pursuant to a plea bargain agreement, the district court sentenced
Adkins to imprisonment for ten years.&lt;/P&gt;

&lt;P&gt;On March 26, 2001, Adkins filed a pro se notice of appeal from the district court's
overruling of a motion to vacate the conviction.  It is far too late for Adkins to either request a new
trial from the district court or to appeal his conviction to this Court.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 21.4, 26.2. 
If he is entitled to relief, he must seek it by way of post-conviction habeas corpus.  &lt;EM&gt;See&lt;/EM&gt; Tex. Code
Crim. Proc. Ann. art. 11.07 (West Supp. 2001).&lt;/P&gt;

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&lt;P&gt;The appeal is dismissed for want of jurisdiction.&lt;/P&gt;

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&lt;P&gt;Before Chief Justice Aboussie, Justices Yeakel and Patterson&lt;/P&gt;

&lt;P&gt;Dismissed for Want of Jurisdiction&lt;/P&gt;

&lt;P&gt;Filed:   June 14, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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